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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a NeW Mexico
limited liability company,

Plaintiff,
vS. Case Number: l:lZ-cv~OO?SS-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

Defenda.nt.

CERTIFICATE
I hereby certify that Plaintifi’ S Rule 26(a)(2) Expert DiScloSure, Expert Report and
Certi'['icate Were mailed to Tesla Motors, lnc., 0/0 Andy Schultz, Rodey, Dickason, Sloan, Al<in

& Robb, PA, P.O. BoX 1888, Albuquerque, New Mexico 87103-1888 on November 19, 201`2.

LASTRA S SPANGLER PACHECO, P..A

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